         Case 1:07-cv-01822-MJG Document 31 Filed 09/25/08 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARLYAND

 H&R BLOCK EASTERN ENTERPRISES, INC.                  )
                                                      )
        Plaintiff,                                    )
                                                      )
                v.                                    ) Civil Action No. MJG-07-1822
                                                      )
 CHARLES W. TURNBAUGH, in his official                )
 capacity as Commissioner of the Division of          )
 Financial Regulation of the Maryland                 )
 Department of Labor, Licensing and Regulation        )
                                                      )
        Defendant.                                    )


                                     NOTICE OF APPEAL

       Pursuant to Rule 3 of the Federal Rules of Appellate Procedure, notice is hereby given

that H&R Block Eastern Enterprises, Inc. (“Block”), plaintiff in the above-named case, hereby

appeals to the United States Court of Appeals for the Fourth Circuit from part of the Final

Judgment entered in this action on September 3, 2008 (Dkt. No. 30). Plaintiff Block appeals the

part of the Final Judgment set forth in Paragraph 2 thereof that declared and adjudged that certain

provisions of the Maryland Credit Services Business Act, Md. Code Ann., Com. Law §§ 14-

1901 et seq. are not preempted by the National Bank Act, 12 U.S.C. §§ 21 et seq. and regulations

of the Office of the Comptroller of the Currency.
        Case 1:07-cv-01822-MJG Document 31 Filed 09/25/08 Page 2 of 3




Dated: September 25, 2008            Respectfully submitted,

                                     Plaintiff H&R Block Eastern Enterprises, Inc.


                                     By:    /s/ Matthew M. Neumeier
                                            Matthew M. Neumeier

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                                        2
         Case 1:07-cv-01822-MJG Document 31 Filed 09/25/08 Page 3 of 3



                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing Notice of Appeal was served upon

all counsel of record via the Court’s CM/ECF system this 25th day of September, 2008.



                                           /s/ Matthew M. Neumeier
                                           Matthew M. Neumeier
